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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH



  NOVELLA ATWOOD; CHRISTINE CID;
  CHERALEE ENGLAND; KATHLEEN GAGON;                    [DRAFT] ORDER GRANTING
  KRISTEN PUERTAS; JANICE RANDALL; and                 STIPULATED MOTION FOR
  SARAH TYCHSEN, individually and on behalf of         EXTENSION OF TIME
  all others similarly situated,                       Case No. 1:24-cv-00046-AMA-PK
                        Plaintiffs,                    Judge Tena Campbell
         v.                                            Magistrate Judge Daphne A. Oberg
  DOTDASH MEREDITH,
                        Defendant.


        The Court, having reviewed the Stipulated Motion for an Extension of Time, being fully

 apprised in the premises, and good cause appearing,

        IT IS HEREBY ORDERED that:

               Plaintiffs may file their response in opposition to Defendant’s Motion to Dismiss

        the First Amended Complaint on or before October 4, 2024.



 DONE this ____ day of September 2024.
                                                 BY THE COURT:


                                                DAPHNE A. OBERG
                                                United States Magistrate Judge
